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              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



Milwaukee Electric Tool Corporation,
                                   )
                                   )
                       Plaintiff,  ) Case No: 1:23-cv-04555
                                   )
        v.                         )
                                   )
                                   )
 THE INDIVIDUALS, CORPORATIONS, ) Hon. Martha M. Pacold
 LLCS, PARTNERSHIPS AND            )
 UNINCORPORATED ASSOCIATIONS )
 IDENTIFIED ON SCHEDULE A,         )
                                   )
                       Defendants.



      EAGGLEWDIRECT’S AGREED MOTION TO WITHDRAW ITS MOTION TO
                DISOLVE THE PRELIMINARY INJUNCTION

        NOW COMES THE DEFENDANT, Eagglewdirect, through its attorneys, and

respectfully requests the Court for permission to withdraw its previously filed motion to dissolve

the preliminary injunction and states as follows:


1.      The Court granted the Plaintiff a preliminary injunction on October 17, 2023. Doc. 91.

2.      Eagglewdirect filed a motion to dissolve the preliminary injunction. Doc. 107.

3.      On November 13, 2023, the Court set a briefing schedule on Eagglewdirect’s motion.

        Doc. 113.


4.      On November 27, 2023, the Plaintiff and Eagglewdirect entered an agreement to settle

        their dispute.


5.      The Motion to Dissolve is now moot and the parties have agreed that the motion be

        withdrawn.
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       WHEREFORE, the Defendant Eagglewdirect requests the Court permit its Motion to

Dissolve the Preliminary Injunction to be withdrawn.


 November 27, 2023                   Respectfully submitted,


                                    s/ Christopher Keleher

                                     Christopher Keleher
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                              CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on November 27, 2023, a true and correct

copy of the foregoing document was filed electronically with the Clerk of the Court and served

on all counsel of record.


         Respectfully submitted,

         s/ Christopher Keleher

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